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                  Thomas-Jensen
                   Affirmation




                      Exhibit # 99
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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND



  STATE OF NEW YORK; et al.,

                 Plaintiffs,

         v.                                                   C.A. No. 1:25-cv-00039-JJM-PAS

  DONALD TRUMP, in his official capacity as
  President of the United States; et al.,

                 Defendants.



                               DECLARATION OF ERIN MCMAHON
                I, Erin McMahon, declare as follows:

        1.      I am a resident of the State of Oregon and I am over the age of 18. I make this

 declaration based on my personal knowledge, OEM business records, or based on my knowledge

 of the matters set forth below based on my review of information and records provided by my

 staff. If called as a witness, I could and would testify competently to the matters set forth below.

        2.      I am the Director of the Oregon Department of Emergency Management (OEM).

 I have held that position since September 2023.

        3.      As OEM Director, I oversee emergency management and homeland security

 services for the State of Oregon, including disbursing federal funds for emergency management

 and homeland security grants. OEM is currently entitled to approximately $52 million in federal

 funding that has already been committed by the federal government to Oregon, the vast majority

 of which will be disbursed to entities statewide, including counties, cities, tribes, OEM itself,

 other state agencies, local law enforcement, fire agencies, special districts (water/power/schools),

 and to non-profit organizations.

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         4.      OEM coordinates and maintains a statewide emergency services system for

 emergency and disaster communications in Oregon. OEM supports 18 Emergency Support

 Functions (ESFs) and more than 50 county, city, and tribal local emergency management offices

 around the state.

         5.      Emergency management services statewide—at both the state and local

 government levels—are heavily subsidized by federal funding. Many local, state, and tribal

 emergency management services receive 50% of funding through our Emergency Management

 Performance Grant, funded by the Federal Emergency Management Agency (FEMA). OEM

 distributes grant funds to local jurisdictions (36 counties, 6 cities, 6 tribal nations) statewide.

 80% of EMPG funds are pushed down to local agencies, and specifically emergency

 management programs in rural areas of the state are particularly dependent on federal grants.

         6.      The federal emergency management grants that OEM oversees can be categorized

 as addressing disaster preparedness, response, mitigation, and recovery planning, training, and

 exercising in preparation and/or following disasters. Preparedness grants help the state prepare

 for nature disasters such as earthquakes, tsunamis, and fires, as well as other events. FEMA

 Public Assistance and Hazard Mitigation Grant Programs pay for the repair and restoration of

 damaged public infrastructure (for example, roads and utilities) for federally declared disasters

 and emergencies, promote community resiliency, and pay for specific mitigation projects to

 mitigate future risks following natural disasters such as flooding, winter storms, tsunami threats,

 and fires.

         7.      Oregon has experienced several major federally declared natural, as well as state

 declared disasters in recent years, including the 2020 wildfires—which burned over 1.2 million

 acres, destroyed thousands of homes and structures, and caused billions of dollars in damage—



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 COVID relief from 2020, the 2024 winter storm and most recently the 2024 wildfires. OEM is

 actively disbursing billions of dollars in federal mitigation and recovery funds that have already

 been committed for these disasters by the federal government.

        8.         I learned that the federal government was freezing OEMs funds when the OMB

 Directive freezing all federal funds came out on Monday, January 27, 2025. I was in

 Washington D.C. at FEMA’s Executive Crisis Leadership Forum, Vanguard, with other crisis

 professionals from across the nation, including federal government emergency management

 professionals who had no advance notice of the Directive. The Directive unleashed a wave of

 confusion.

        9.         No direct communication was provided to OEM by the federal government

 regarding how the Directive would impact OEM’s federal grants. However, on Tuesday,

 January 28, 2025, OEM was unable to withdraw federal funds for payroll because the federal

 payment system in use was offline. As a result, OEM was unable to cover payroll with federal

 funds that day.

        10.        The funding freeze caused confusion and disruption among not only OEM staff,

 but to emergency management services teams statewide. OEM staff received many inquiries

 from our federal grant subrecipients who were worried that they would not be able to pay their

 staff or continue with federally funded programs.

        11.        Although the federal grant payment system is now back online, any future

 disruption of funds—even a short “pause”—would cause severe disruption to emergency

 management services and would impede disaster mitigation and recovery statewide. Oregon

 communities depend on this federal funding. OEM would be unable to pay federal grant

 subrecipients such as cities and counties, tribes, nonprofits, and other organizations; would have



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 to pause travel and other activities paid for by federal funds; and would be forced to consider

 furloughing or laying off staff whose positions are federally funded, given the cash flow shortage

 that would be caused by our funding being cut off.

        12.     Based on OEM’s business records from January 2025, the federal funding in

 jeopardy includes:

                      a. $6,175,977 in Emergency Management Performance Grant funds (of

                         $16,248,090 awarded). These funds staff salaries at OEM as well as

                         County, City and Tribal Emergency Managers across the state, and

                         support planning, training, exercise and community preparedness activities

                         at all levels.

                      b. $20,774,196 in Homeland Security Grant funds (of $33,470,978 awarded).

                         These grants fund staff salaries at OEM and the Regional Disaster

                         Preparedness Office (RDPO). The funds also support planning, training,

                         exercise, emergency equipment, and community preparedness activities at

                         all levels.

                      c. $7,357,653 in Non-Profit Security Program Grants (of $9,507,043.68

                         awarded).

                      d. $8,994,049 in State Local Cybersecurity Grants (of $9,035,602 awarded).

                      e. $220,837 in National Earthquake Hazard Reduction Grants (of $272,168

                         awarded).

                      f. $8,392,850 in Emergency Operations Center Grants (of $8,411,038

                         awarded).




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                    g. $1.1 Billion in Mitigation and Recovery Grants already obligated and

                        waiting for payment.

        13.     If a major disaster were to occur while federal emergency management funds to

 Oregon are frozen, the consequences could be dire. Pending preparedness training and

 mitigation work may come to a stop and the incapacitation of federally funded emergency

 management programs and services that would result from a federal funding freeze could very

 well lead to increased loss of life and injury to Oregonians, slowed emergency response times,

 greater risks to first responders, greater property damage, and delays to community recovery and

 rebuilding.



       I declare under penalty of perjury that the foregoing is true and correct.

                Executed on February 4, 2025, at Salem, Oregon.




                                                _____________________________________
                                                       ERIN MCMAHON




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